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 1 Robert Tauler (SBN 241964)
   rtauler@taulersmith.com
 2 Tauler Smith, LLP
   626 Wilshire Boulevard, Suite 510
 3 Los Angeles, California 90017
   Tel: (310) 590-3927
 4
      Attorneys for Plaintiff
 5    ENTTech Media Group LLC
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
        ENTTECH MEDIA GROUP LLC               Case No. 2:20-cv-06298-JWH (Ex)
11
                    Plaintiff,                Assigned to Hon. John W. Holcomb
12                                            Courtroom 2
               v.
13                                            PLAINTIFF’S EVIDENTIARY
        OKULARITY, INC., et al.               OBJECTIONS TO DEFENDANTS’
14                                            RESPONSE TO ORDER TO
                    Defendants.               SHOW CAUSE FOR IMPOSITION
15                                            OF SANCTIONS [63]
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             EVIDENTIARY OBJECTIONS TO DEFS’ RESPONSE TO OSC RE SANCTIONS
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 1                             EVIDENTIARY OBJECTIONS
 2

 3
       Evidence       Material            Grounds for Objection                     Ruling
                      Objected to
 4     Peter          Ex. 1               Irrelevant [Fed. R. Evid. 401-402]:       Sustained:
 5     Perkowski                          This letter is irrelevant to the claims
                                                                                    ____
       Declaration                        or defenses in this action.
 6     (63-2)                                                                       Overruled:
 7                                        Unfair Prejudice, Confuses the            ____
                                          Issues, Misleading [Fed. R. Evid.
 8                                        403]: The letter is unfairly
 9                                        prejudicial in that it is misleading
                                          and confuses the issues because it
10                                        contains alleged statements by
11                                        Enttech’s counsel Mr. Tauler that
                                          Mr. Tauler did not make, or are
12                                        taken out of context, or are false.
13                                        Further, the letter falsely alleges Mr.
                                          Tauler was in an impaired state
14                                        during a meet and confer call which
15                                        is unfairly prejudicial because it is
                                          not only false, it unfairly disparages
16                                        Mr. Tauler.
17
                                         Hearsay [Fed. R. Evid. 801-803]:
18                                       This exhibit is a letter written by Mr.
19                                       Perkowski which contains numerous
                                         out of court statements by Mr. Tauler
20
                                         that are being offered for its truth.
21                                       Consequently, it is inadmissible
                                         multiple hearsay.
22
       Joanna         “On or             Irrelevant [Fed. R. Evid. 401-402]: Sustained:
23     Ardalan        around August 4, I This statement is irrelevant to the
                                                                                 ____
       Declaration    explained by       claims or defenses in this action.
24
       (63-4); ¶ 2    phone that my                                              Overruled:
25                    clients were not   Lacks Personal Knowledge, Lacks ____
                      agreeable and that Foundation; Opinion Testimony
26
                      the 512(f) and     [Fed. R. Evid. 602]:
27                    RICO claims were The statement that “there was no
                      sanctionable. I    opportunity for Tauler to have
28                                        1
             EVIDENTIARY OBJECTIONS TO DEFS’ RESPONSE TO OSC RE SANCTIONS
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 1
                      explained the          conferred with his client” is Ms.
                      Photo Agencies’        Ardalan’s opinion, and no evidence
 2                    proposal, which        is submitted or referred to in support
 3
                      would be a             of the assertion. Thus, there is
                      “graceful” way to      insufficient evidence to support a
 4                    avoid motion           finding that Ms. Ardalan has
 5                    practice and           personal knowledge of her statement
                      potential Rule 11      that Mr. Tauler had no opportunity to
 6                    sanctions. The         have conferred with his client, as
 7                    proposal was as        asserted. Further, she provides no
                      follows: ENTtech       basis for her speculations.
 8                    drops its claims,
 9                    stipulate to
                      copyright liability,
10                    and we go to
11                    arbitration for a
                      monetary award,
12                    which would
13                    save everyone
                      costs and fees
14                    and—as seemed
15                    very important to
                      ENTtech at the
16                    time—would
17                    allow ENTtech to
                      get its Instagram
18                    account back up
19                    without delay.
                      Tauler rejected
20                    this proposal
21                    immediately after
                      it was proposed
22
                      during the phone
23                    call. In other
                      words, there was
24
                      no opportunity for
25                    Tauler to have
                      conferred with his
26
                      client.”
27
28                                        2
             EVIDENTIARY OBJECTIONS TO DEFS’ RESPONSE TO OSC RE SANCTIONS
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 1
       Joanna         “Based off of the     Irrelevant [Fed. R. Evid. 401-402]:    Sustained:
       Ardalan        meet and confer       This statement is irrelevant because
                                                                                   ____
 2     Declaration    call, the basis for   it is not relevant to the claims or
 3
       (63-4); ¶ 3    bringing in Mr.       defenses in this action.               Overruled:
                      Ginsburg was that                                            ____
 4                    he made a             Hearsay [Fed. R. Evid. 801-803]:
 5                    settlement offer      The statement by Mr. Tauler is an
                      to the CEO            out of court statement being offered
 6                    of ENTtech. I am      for its truth. Consequently, it is
 7                    still not clear on    inadmissible hearsay.
                      theory as to why
 8                    Mr. Perkowski     Lacks Personal Knowledge, Lacks
 9                    could be added,   Foundation; Opinion Testimony
                      but Mr. Tauler    [Fed. R. Evid. 602]:
10                    believed it was   This statement is Ms. Ardalan’s
11                    appropriate       opinion, and no evidence is
                      because Mr.       submitted or referred to in support of
12                    Perkowski serves  the assertion. Thus, there is
13                    as Okularity’s in-insufficient evidence to support a
                      house lawyer”     finding that Ms. Ardalan has
14                                      personal knowledge of the matter
15                                      asserted. Further, she provides no
                                        basis for her speculations.
16     Steven         “In light of my   Irrelevant [Fed. R. Evid. 401-402]: Sustained:
17     Ginsberg       concern that Mr.  The statement is not relevant to the
                                                                               ____
       Declaration    Tauler might be   case or the claims or defenses in this
18
       (63-5); ¶ 3    interfering with  action.                                Overruled:
19                    the resolution of                                        ____
                      this lawsuit, I   Unfair Prejudice, Confuses the
20
                      reached out to    Issues, Misleading [Fed. R. Evid.
21                    Tom Florio, who I 403]:
                      understand to be  The statement is unfairly prejudicial
22
                      the CEO of        in that it is misleading and confuses
23                    ENTtech.”         the issues because it concerns
                                        Enttech’s counsel Mr. Tauler, who is
24
                                        not a party to this case and is merely
25                                      counsel.
26
                                            Lacks Personal Knowledge, Lacks
27                                          Foundation; Opinion Testimony
                                            [Fed. R. Evid. 602]:
28                                        3
             EVIDENTIARY OBJECTIONS TO DEFS’ RESPONSE TO OSC RE SANCTIONS
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 1
                                            Mr. Ginsberg’s statement that he was
                                            concerned that Mr. Tauler might be
 2                                          interfering with the resolution of this
 3
                                            lawsuit is his opinion, and no
                                            evidence is submitted or referred to
 4                                          in support of the assertion. Thus,
 5                                          there is insufficient evidence to
                                            support a finding that Mr. Ginsberg
 6                                          has personal knowledge of the
 7                                          matter. Further, Mr. Ginsberg
                                            provides no basis for his speculations
 8                                          about Mr. Tauler.
 9
       Steven         “On our first call,   Irrelevant [Fed. R. Evid. 401-402]:
10     Ginsberg       Mr. Florio told me    The statement is not relevant to the
11     Declaration    that I “remind me     claims or defenses in this action
       (63-5); ¶ 4    [Mr. Florio] of       because it concerns Enttech and its
12                    myself” and he        counsel’s relationship and
13                    told me he wished     communications, which is not at
                      we had this           issue in the instant action. Mr.
14                    conversation          Florio’s alleged statement that Mr.
15                    sooner. I inferred    Ginsberg reminds him of himself is
                      from this             completely irrelevant to the claims or
16                    comment that if       defenses in this action.
17                    we had spoken to
                      each other before     Unfair Prejudice, Confuses the
18
                      the litigation        Issues, Misleading [Fed. R. Evid.
19                    commenced we          403]: The statement is unfairly
                      may have been         prejudicial in that it is misleading
20
                      able to reconcile.    and confuses the issues because it
21                    He also told me       concerns Enttech’s CEO’s alleged
                      about some of the     conversations about Enttech’s
22
                      hardships his         counsel Mr. Tauler, who is not a
23                    business suffered     party to this case and is not involved
                      after ENTtech’s       in the claims. Additionally, the
24
                      Instagram account     statement confuses the issues by
25                    was taken down. I     putting Enttech and its counsel’s
                      told him about        relationship and communications at
26
                      some of the           issue, which is not at issue in the
27                    hardships the         instant action. Additionally, the
                      Photo Agencies        statement that Mr. Florio allegedly
28                                        4
             EVIDENTIARY OBJECTIONS TO DEFS’ RESPONSE TO OSC RE SANCTIONS
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 1
                    suffered because      made to Mr. Ginsberg that he
                    of online             reminded him of himself is unfairly
 2                  infringement,         prejudicial and misleading.
 3
                    especially on
                    Instagram. He also    Hearsay [Fed. R. Evid. 801-803]:
 4                  told me that it was   These multiple statements are out of
 5                  “news” to him that    court statements by Mr. Florio that
                    there was any         are being offered for its truth.
 6                  settlement            Consequently, it is inadmissible
 7                  proposal as he had    hearsay.
                    not heard of any
 8                  from his lawyer.”
 9     David Quinto Ex. A; Email from     Irrelevant [Fed. R. Evid. 401-402];      Sustained:
       Declaration  Mr. Tauler to Mr.     Unfair Prejudice, Confuses the
10                                                                                 ____
       (63-6)       Quinto                Issues [Fed. R. Evid. 403]: This
11                                        email is irrelevant to the claims or     Overruled:
                                          defenses in this action. Further, this   ____
12                                        email is unfairly prejudicial and
13                                        confuses the issues.
14                                        Settlement Communications [Fed.
15                                        R. Evid. 408]: This email is
                                          improper to the extent it is being
16                                        used to demonstrate liability of
17                                        Enttech.
       Peter          Ex. A               Irrelevant [Fed. R. Evid. 401-402];      Sustained:
18
       Afrasiabi                          Unfair Prejudice, Confuses the
                                                                                   ____
19     Declaration                        Issues [Fed. R. Evid. 403]: This
       (63-7)                             email is irrelevant to the claims or     Overruled:
20
                                          defenses in this action. Further, this   ____
21                                        email is unfairly prejudicial and
                                          confuses the issues.
22
23                                        Settlement Communications [Fed.
                                          R. Evid. 408]: This email is
24
                                          improper to the extent it is being
25                                        used to demonstrate liability of
                                          Enttech.
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28                                        5
             EVIDENTIARY OBJECTIONS TO DEFS’ RESPONSE TO OSC RE SANCTIONS
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 1                                             Respectfully submitted,
 2

 3 DATED: December 3, 2020                     TAULER SMITH LLP
 4
 5                                       By:   /s/ Robert Tauler
                                               Robert Tauler
 6                                             Attorneys for Plaintiff
                                               ENTTech Media Group LLC
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             EVIDENTIARY OBJECTIONS TO DEFS’ RESPONSE TO OSC RE SANCTIONS
     Case 2:20-cv-06298-JWH-E Document 69 Filed 12/03/20 Page 8 of 8 Page ID #:1224




 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on December 3, 2020, copies of the foregoing document were
 3 served by the Court’s CM/ECF system to all counsel of record in this action.
 4
 5 Dated: December 3, 2020                       TAULER SMITH, LLP
 6
 7                                         By: /s/ Robert Tauler
 8
                                               Robert Tauler

 9                                         Counsel for Plaintiff
10                                         ENTTECH MEDIA GROUP LLC

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             EVIDENTIARY OBJECTIONS TO DEFS’ RESPONSE TO OSC RE SANCTIONS
